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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION



UNITED STATES OF AMERICA                                                PLAINTIFF


V.                         CASE NO 4:20CV00307 KGB


$332,057.00 IN U.S. CURRENCY                                          DEFENDANT


SUNG KIM                                                                CLAIMANT



       CLAIMANT’S REPLY TO THE UNITED STATES OF AMERICA’S
     RESPONSE IN OPPOSITION TO SUNG KIM’S MOTION TO SUPPRESS
                            EVIDENCE

       COMES NOW the Claimant, Sung Kim, by and through his attorney, Toney

Brasuell of the Brasuell Law Firm, and for his Reply states that this Reply Brief

seeks to clarify certain points made by the Government in its Response. Some

points raised by the Government’s response are not replied to specifically in this

brief but should not be construed as a waiver of those arguments. In this Reply

Brief, Claimant reincorporates each and every argument made in Claimant’s

Motion to Suppress. Claimant replies as follows:

       1.    Premature:

             The Government’s main argument, that the Motion to Suppress is

  premature, is simply a red herring, does not accurately reflect the rules governing




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Claimant’s Motion to Suppress, and misconstrues the case law to support its

position.

            Rule G(8)(a) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions states: “If the defendant property was seized,

a party with standing to contest the lawfulness of the seizure may move to

suppress use of the property as evidence. Suppression does not affect forfeiture of

the property based on independently derived evidence.”

            First, the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions differentiate between a motion to suppress and motion to

dismiss. Nothing in this rule requires answers to special interrogatories be made

prior to the court ruling on a motion to suppress, only that the Claimant have

standing to contest the lawfulness of the seizure. The Government is attempting

to conflate the requirements of Rule G6(c) and G8(b) with Rule G8(a). Further,

Sung Kim did respond to the special interrogatories and provided hundreds of

pages of documents to the Government in support of his answers.

            To support its position, the Government cited United States v.

Vazquez-Alvarez, 760 F.3d 193, 197-98 (2d Cir. 2014) for the proposition that the

Claimant lacks the right to bring any motion. However, the Government

misconstrued the opinion and left out the most important part of the ruling: “If

the government moves to strike a claim, that motion to strike “must be decided

before any motion by the claimant to dismiss the action.”” Vazquez-Alvarez at 197

(citing Forfeiture Rule G(8)(c)(ii)(A)).



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           The Government also cited United States v. $284,950.00 in U.S.

Currency, 933 F.3d 971, 974 (8th Cir. 2019) and stated, “explaining that a motion

to strike must be decided before any motion.” Again, the Government

misconstrued the case and left out the most important part of the ruling. The

Eighth Circuit stated, “[b]ut the Government’s motion to strike “must be decided

before any motion by the claimant to dismiss the action.”” $284,950.00 in U.S.

Currency at 975 (citing Fed. R. Civ. P. Supp. R G(8)(c)(ii)(A)). Here, Claimant has

not filed a motion to dismiss pursuant to that rule but rather a motion to

suppress pursuant to Rule G(8)(a) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.

           Further, on Page 13 of the Government’s Response, the Government

again cited United States v. $284,950.00 in U.S. Currency, 933 F.3d 971, 975 (8th

Cir. 2019) after stating, “[a]nd where the Court is presented with both a motion to

strike and a motion to suppress, the Court is entitled to resolve the motion to

strike first.” The Eighth Circuit stated, “[f]inally, Thompson argue that his

motion to dismiss was improperly denied because the Government failed to state

a claim against the currency. But the Government’s motion to strike “must be

decided before any motion by the Claimant to dismiss the action.”’ Fed. R. Civ. P.

Supp. R. G(8)(c)(ii)(A). Neither of these two cases stand for what the Government

argues regarding a motion to suppress filed by the Claimant.

           The Advisory Committee Notes to Rule G specifically address the

difference in governing principles which apply to suppression motions as opposed



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  to motions to dismiss, providing that: “[s]tanding to suppress use of seized

  property as evidence is governed by principles distinct from the principles that

  govern claim standing. A claimant with standing to suppress forfeiture may not

  have standing to seek suppression.” It is necessary to distinguish between the

  types of motions because the Fourth Amendment principles which govern

  standing for a motion to suppress are distinct from the ownership principles

  which govern a motion to dismiss.

             Finally, the government’s suggestion that the Court hold in abeyance a

  ruling on this motion until all discovery is nonsensical and only solidifies the red

  herring statement made above. The Government stated, “[t]he outstanding

  requests will provide the Court with the best picture of what occurred during the

  stop and provide additional information that will assist the Court when it weighs

  the credibility of the witnesses.” The best picture of what occurred is on the dash

  cam video provided by the Claimant. The Government’s main argument is

  without merit and the Court should grant Claimant’s motion to suppress.

      2.     Violation of Arkansas Statute:

             The Government’s second argument, Trooper May witnessed a traffic

violation, is clearly against the best evidence, the video of the traffic stop.

Claimant’s motion to suppress with exhibits provided the court with a clear picture

of the actions prior to the traffic stop and detail why those actions by Mr. Kim were

not violative of Arkansas law and why the stop was without probable cause.

      3.     The Traffic Stop:



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              The Government’s third argument, Trooper May’s questions about the

Kims’ identities, criminal histories, and travel plans were within the scope of a

routine traffic stop, is confusing at best. Claimant’s motion to suppress did not

argue these questions were outside the scope of the routine nature of a traffic stop.

The Government’s response misconstrues Claimant’s motion on this point as

Claimant cited case law to support the fact that certain questions are legal during a

routine traffic stop.

              In its motion, Claimant made the following argument: According to

Trooper May, the purpose for the stop was to investigate the crossing of the fog line.

Authority for the seizure ends when the tasks tied to the traffic infraction are – or

reasonably should have been – completed. Rodriguez v. U.S., 575 U.S. 348, 354

(2015). Exceeding the time needed to handle the matter for which the stop was

made violates the Constitution’s shield against unreasonable seizures. Rodriguez v.

U.S. at 350. Although an officer may conduct certain unrelated checks during a

traffic stop, he may not do so in a way that prolongs the stop, absent the reasonable

suspicion ordinarily demanded to justify detaining an individual. Id at 354.

       The Eighth Circuit has acknowledged that certain actions incident to a lawful

traffic stop are permitted, such as requesting the driver’s license and registration,

requesting that the driver step out of the vehicle, requesting that the driver wait in

the patrol car, conducting computer inquiries to determine the validity of the license

and registration as well as the driver’s criminal history, and making inquiries into




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the motorist’s destination and purpose. U.S. v. Jones, 269 F.3d 919, 924 (8th Cir.

2001).

         However, in United States v. Jones, the Eighth Circuit found that once this

initial investigation has been completed, the legitimate purposes of the traffic stop

are completed, and it is an unreasonable extension of the scope of the investigation

to further detain the driver or his vehicle, absent the occurrence of something

during the stop that generated the necessary reasonable suspicion to justify a

further detention. Id. at 925. This suspicion must be based upon “particularized,

objective facts which, taken together with rational inferences from those facts,

reasonably warrant suspicion that a crime [is] being committed.” Id. at 927.

         Here, similar to Jones and Boyce, the traffic stop was unreasonably prolonged

beyond the time necessary to conduct the original traffic investigation, and the facts

do not give rise to an objective determination of reasonable suspicion. The traffic

stop ended when Trooper May informed Mr. Kim he did not intend to issue a ticket,

at which point his purpose for pulling Mr. Kim over was complete. By this time,

Trooper May had already performed a background check and completed the

necessary tasks associated with the traffic stop. Extending the detention further to

conduct additional checks and await arrival of a drug dog was an impermissible

prolonging of the stop. Despite the absence of factors which would objectively give

rise to reasonable suspicion, Trooper May immediately called for a drug dog

following Mr. Kim’s denial of consent to search the vehicle. This immediacy, like in

Boyce, suggests that Trooper May unlawfully based his decision to continue the



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detention of Mr. Kim on Mr. Kim’s assertion of his constitutional right. The only

significant event between the time Trooper May stated his non-intent to issue a

ticket and the time he called for a drug dog was Mr. Kim’s assertion of his

constitutional right not to allow Trooper May to search his car; this would suggest

that Trooper May based his decision to further detain Mr. Kim on Mr. Kim’s refusal

to consent.

      4.      Other Government Arguments:

              The Government’s Fourth, Sixth, and Seventh responses are denied by

the Claimant as without merit. Claimant defers to the Motion to Suppress.

      5.      Conclusion:

              Based on the arguments made in Claimant’s Motion and Reply, the

Court should grant the motion, suppress the use of the property as evidence, and for

all other relief the Court deems necessary and proper.



                                              Respectfully submitted,

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